Case 1:18-cr-20312-MGC Document 213 Entered on FLSD Docket 10/11/2019 Page 1 of 7  lO / l \ @ \[J. 00
                              UNITED ST ATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                         Case No. 18-20312


  UNITED STATES OF AMERICA

  vs.

  FRANK ROBERTO CHA TB URN RIP ALDA,

                 Defendant.
  - - - - -- - - - - - - - - -I
                   FACTUAL PROFFER IN SUPPORT OF GUILTY PLEA

         The United States Department of Justice, Criminal Division, Fraud Section and Money

  Laundering and Asset Recovery Section, (collectively, "the government"), and the Defendant,

  Frank Roberto Chatburn Ripalda ("the defendant") stipulate and agree that the information stated

  herein is true and accurate and a sufficient basis for the defendant's plea of guilty to Count Two

  of the superseding indictment in this case, which charges him with conspiracy to launder money

  in violation of Title 18, United States Code, Section 1956(h).

         The defendant, who was a dual United States and Ecuadorian citizen and resident of Miami,

  Florida during the time period alleged in the Superseding Indictment, provided financial services

  to several clients, including Ramiro Andres Luque Flores ("Luque") (charged elsewhere), an

  Argentinean businessman, and several Ecuadorian government officials, including Arturo Escobar

  Dominguez ("Escobar") (charged elsewhere), Foreign Official 1, and Foreign Official 2, the

  identities of whom are known to the government and the defendant.

         Between in or around 2013 and in or around 2015 , the defendant knowingly and willfully

  conspired with Luque and others to make corrupt payments of at least $2,970,080 for the benefit

  of officials of the state-owned and state-controlled oil company of the Republic of Ecuador,
Case 1:18-cr-20312-MGC Document 213 Entered on FLSD Docket 10/11/2019 Page 2 of 7




  Empresa Publica de Hidrocarburos de! Ecuador ("PetroEcuador"), including Foreign Official 1

  and Foreign Official 3, in order to obtain an improper advantage and retain contracts for Luque's

  company ("the illegal bribery scheme"). The defendant facilitated bribe payments through the use

  of the mails and means and instrumentalities of interstate commerce, including by making U.S .-

  dollar denominated payments to bank accounts in Miami, Florida and elsewhere, for the benefit of

  then-PetroEcuador officials.

         Being a participant in the bribery scheme, the defendant also knowingly and willfully

  conspired with others to transfer funds from bank accounts located outside the United States to

  and through bank accounts located in the United States with the intent to promote the carrying on

  of the illegal bribery scheme. For example, the defendant caused one such payment of $700,000

  to be made on or about February 27, 2013 from a Cayman Islands bank account under the

  defendant's contro l to a U.S. bank account held by a company in Miami, Florida for the benefit of

  another Petro Ecuador official, Marcelo Reyes Lopez (charged elsewhere). The defendant further

  caused another such payment of approximately $620,000 to be made on or about May 8, 20 14

  from a bank account in Panama to a bank account in the United States in the name of a law firm

  based in Miami , Florida for the benefit of Foreign Official 3.

         From in or around 2013 to in or around 20 18, the defendant also knowingly and willfully

  conspired with others to conduct financial transactions in interstate and foreign commerce that

  were designed to conceal and disguise the nature, location, source, ownership, and control of the

  proceeds of unlawful acti vity, namely proceeds of the illegal bribery scheme in which Chatburn

  and Luque had engaged. The defendant and hi s co-conspirators, among other things, conducted

  transactions through the use of shell companies and bank accounts in, among other countries,

  Panama, the Cayman Islands, Curacao, Switzerland, and the United States. For example, in an



                                                   2
Case 1:18-cr-20312-MGC Document 213 Entered on FLSD Docket 10/11/2019 Page 3 of 7




  effort to develop illegal business with PetroEcuador officials and assist them in concealing bribe

  payments, the defendant set up Panamanian shell companies with bank accounts in Switzerland to

  conceal the receipt of bribe payments for two then-PetroEcuador officials, Escobar and Foreign

  Official 1. The defendant and his co-conspirators also created fake invoices and contracts which

  they presented to financial institutions to conceal the nature, location, source, ownership, and

  control of the proceeds of the illegal bribery scheme in connection with financial transactions

  conducted during the conspiracy.

         The defendant also used accounts m the name of intermediaries to conduct financial

  transactions involving the proceeds of the illegal bribery scheme in order to provide those proceeds

  to Luque in Miami , Florida while concealing Luque' s connection to the funds. For example, in or

  around September 2016, the defendant caused approximately $2.8 million of proceeds of the illegal

  bribery scheme to be sent from an account in the name of a shell company based in Curacao to an

  account in the United States in the name of an entity affiliated with his employer. From there, the

  defendant and others subsequently caused approximately $974,000 to be wire transferred from that

  entity to an account in the name of co-conspirator Jose Larrea ( charged elsewhere), who

  subsequently conducted wire transfers of those funds to other bank accounts in the United States,

  as designated by Luque. The purpose of these transactions was to conceal and disguise the nature,

  location, source, ownership, and control of the funds, which were proceeds of the illegal bribery

  scheme.

         The defendant profited from his role in the laundering of bribe proceeds by earning fees

  from Luque for facilitating the illegal transactions .

          Moreover, between in or around 2013 and in or around 2015, the defendant knowingly and

  willfully conspired with Foreign Official 2 and others to conduct financial transactions that were



                                                     3
Case 1:18-cr-20312-MGC Document 213 Entered on FLSD Docket 10/11/2019 Page 4 of 7



  designed to conceal bribe payments for the benefit of Foreign Official 2 from Odebrecht S.A.

  (charged elsewhere), a Brazilian construction conglomerate. Specifically, the defendant caused

  several financial transactions affecting interstate and foreign commerce to be made for the benefit

  of Foreign Official 2, while knowing that the payments constituted the proceeds of unlawful

  acti vity, namely bribe payments, and were intended to conceal them . The transactions included a

  U.S . dollar denominated payment of $400,000 from an Odebrecht-related entity with a bank

  account in Antigua to a Cayman Islands account controlled by the defendant. Less than ten days

  later on or about April 23 , 2014, the defendant, while in Miami, Florida, caused a wire transfer of

  approximately $340,000 to be sent to a Swiss bank account of a Panamanian corporation

  beneficially held by Foreign Official 2. The defendant also knowingly and willfully caused a

  payment of $349,805 to be made on or about September 1, 2015 from a Cayman Islands-based

  bank account he contro ll ed to a company under his control with a bank account in Miami, Florida,

  which was intended, at least in part, to conceal the proceeds of an unlawful bribe payment for the

  benefit of Foreign Official 2.

         The defendant, knowing that his conduct was wrong and unlawful, conspired with others

  to conduct, conducted and attempted to conduct various financial transactions involving interstate

  and foreign commerce using U.S. shell company bank accounts, knowing that the property

  involved in the transactions represented the proceeds of the illegal bribery scheme, and acting with

  the intent to conceal and disguise the true nature, location, source, ownership, and control of the

  proceeds of the illegal bribery scheme. The defendant, knowing that his conduct was wrong and

  unlawful, also caused financial transactions from a place in the United States to or through a place

  outside the United States and to a place in the United States from or through a place outside the

  United States, with the intent to promote the carrying on of the illegal bribery scheme.



                                                   4
Case 1:18-cr-20312-MGC Document 213 Entered on FLSD Docket 10/11/2019 Page 5 of 7




         Beginning in or around and between 2005 and 2007, several individuals, whose identities

  are known to the United States and the defendant, began operating three businesses (whose names

  are also known by the defendant and the government): (a) Financial Services Firm; (b) a luxury

  real estate development company in South Florida; and (c) several private investment funds held

  in the Cayman Islands. These three businesses, though separate, were connected in that Financial

  Services Firm sold shares of the Cayman Islands investment funds for the ostensible purpose of

  developing the real estate projects in South Florida. The defendant was a financial advisor for

  Financial Services Firm and, by at least in or around 2014, was an approximately 8% shareholder.

         Shortly after the three businesses were formed, in or around 2007, the real estate projects

  began suffering financial difficulties that worsened over the next decade. Despite knowing of the

  failing financial health, and eventual insolvency, of the real estate projects, the co-conspirator

  owners and certain Financial Services Firm employees, including the defendant, continued to raise

  new debt, purportedly for the development ofreal estate, by: (a) aggressively selling the worthless

  funds ' shares; (b) making false and fraudulent statements to auditors, clients and others, regarding

  the financial health of these investments; and (c) omitting material information regarding the

  conflict of interest among the various business lines, among other things.

          By the end of 2015 , the beneficiary real estate project was at least approximately $200

  million in debt and remained mostly undeveloped and unsold. The investment funds that were

  being raised were instead fraudulently used by the co-conspirators, including at the direction of

  the defendant: (a) to repay older debts; (b) to capitalize the consistently unprofitable businesses;

  and (c) for the co-conspirators own personal use and benefit. To perpetuate the investment fraud

  scheme, the co-conspirators, at the direction of the defendant and others, would at times make




                                                   5
Case 1:18-cr-20312-MGC Document 213 Entered on FLSD Docket 10/11/2019 Page 6 of 7




  interest payments to cli ents to deceive them into believing their investments were generating

  returns, when in fact their money was not invested in real estate and was not generating returns.

          In furtherance of the conspiracy and to effect the illegal objects thereof, the defendant

  knowingly and fraudulently raised funds from other Financial Services Firm clients to repay his

  client, Luque. For example:

                    a.   On or about November 23 , 2016, at the defendant's direction, Gustavo

  Trujillo ("Trujillo"), a Financial Services Firm employee, sent approximately $353,000

  belonging to other Financial Services Firm clients via wire in interstate commerce, including to

  an account in the Southern District of Florida, to repay defendant' s client, Luque, some of his

  PetroEcuador contract proceeds; and,

                    b.    On or about December 19, 2016, at the Defendant ' s direction, Trujillo sent

  approximately $134,000 of other Financial Services Firm clients via wire in interstate commerce,

  including to an account in the Southern District of Florida, to repay defendant's client, Luque,

  some of his PetroEcuador contract proceeds.

                                                 ROBERT A. ZINK


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                                                 CHIEF, FRAUD SECTION


                                                 BRIAW YOUNG~
                                                 DAVID FUHR
                                                 KA THERINE RAUT
                                                 TRIAL ATTORNEYS

                                                 DEBORAH L. CONNOR
                                                 CHIEF, MONEY LAUNDERING                   &   ASSET
                                                 RECOVERY SECTION


 Date :                                          By: / ~ ~ ~
                                                 RANDALL WARDEN
                                                 MARY ANN MCCARTHY
                                                 TRIAL ATTORNEYS


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Case 1:18-cr-20312-MGC Document 213 Entered on FLSD Docket 10/11/2019 Page 7 of 7




                             ATTORNEY'S ACKNOWLEDGMENT

          I acknowledge by my signature that I have read and discussed the statement of facts with

  my client.


  Date:        /o· If.(~
                                               H   ARD SREBNICK, ESQ.
                                               IA   E PERCZEK, ESQ.
                                               ATTORNEY FOR DEFENDANT CHATB URN


                            DEFENDANT'S ACKNOWLEDGMENT

          I have read and discussed the statement of facts with my attorney. I agree and


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               ~                               FRANK ROBERTO CHATBURN RIPALDA
                                               DEFENDANT




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